Case 1:06-cr-00028-DHB-BKE Document 84 Filed 11/08/16 Page 1 of 2

                       ORiGliMAL
                                                         U.S. DISTRICT COURT
                                                               AUGUSTA DIV
           IN THE UNITED STATES DISTRICT COURT FOR THE
                   SOUTHERN DISTRICT OF GEORGIA         2016 NOV-8 AM 9:00
                         AUGUSTA DIVISION                         ^
                                                       CL^RK
                                                           SO.OISI OFGA.
UNITED STATES     OF AMERICA      *
                                  *     CV 116-006
             V.                   *     {underlying CR 106-028)
                                  ★


JEREMIAH LANE                     *




                               ORDER




     In January 2016, Defendant Jeremiah Lane filed a petition

to vacate, set aside or correct his federal sentence pursuant

to 28 U.S.C. § 2255.      The petition was dismissed as untimely

on April 18, 2016.       The Court also denied his motion for

reconsideration and his motion for leave to appeal in forma

pauoeris     on May 5, 2016, and again denied his motion for

leave    to appeal in forma pauperis on May 19,          2016.       On

September 20, 2016, the Eleventh Circuit Court of Appeals

dismissed his appeal after denying his motion for the issuance

of a certificate of appealability.       Thus, this civil case is

closed and may not be reopened.

        Despite the ruling of the Eleventh Circuit, Defendant has

filed another motion for reconsideration, citing Federal Rule

of Civil Procedure 60(b).        This motion is frivolous and a

waste of judicial resources; the motion (doc. no. 21) is

DENIED.    Defendant is further advised that he may not file any
Case 1:06-cr-00028-DHB-BKE Document 84 Filed 11/08/16 Page 2 of 2




other collateral attack upon his federal sentence under 28

U.S.C. § 2255 without authorization from the Eleventh Circuit

Court of Appeals.    See 28 U.S.C. §§ 2255, 2244(b)

     ORDER ENTERED at Augusta, Georgia, this ^                day of
November, 2016.




                                      TED STATES/DISTRICT JUDGE
